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                                                       September 23, 2023



To the Honorable Ann M. Donnelly:

               I write this letter as a testament to the character of Douglass Mackey. My name is

Captain Saud Hashmi and I have counted Douglass a friend for over two years. Although I’m

originally from New York City, I currently reside in Miami, Florida, where I am going on 23

years of service as a licensed United States Merchant Marine officer. Prior to my career at sea, I

served honorably and am a veteran of the U.S. Army.

               I first made Douglass’ acquaintance through a mutual friend who was hosting a

dinner party in Miami shortly after I’d relocated from New York City. I recall that Douglass

immediately struck me as a very mature and respectful individual. He was an attentive guest and

an engaging conversationalist, listening earnestly, and offering candid opinions of his own. I

remember that his intellect and thoughtfulness made an impression on me.

               For as long as I’ve known Douglass, he has always had a very calm and collected

manner. He holds himself to a high standard ethically, morally and conscientiously. A great

listener, he often takes time to catch up via calls or casual dinners. Douglass is always willing to

lend a helping hand and is always supportive of his friends’ endeavors. As we both share an

affinity for literature, I often enjoy discussing current events, culture, philosophy and faith with

him. As a newly married man and expectant father, we now often discuss how the future will

look to the next generation and the hopes and aspirations we have for them. I’m sure

Douglass will make a great father, and I look forward to sharing in his family’s future milestones,

which brings me to the purpose of this missive. I truly regret the circumstances in which this
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letter is being written, however I write in the hopes that the court may have a more complete

picture of who Douglass is: a friend who would drive hours simply to help you move furniture, a

son who feels committed to reflecting the ideals of his family and community, a husband to

whom his vows are the defining principals of his character, and a future father who wishes only

to nurture and protect his child in a world that is changing so quickly at times we lose our place.

Douglass is at the mercy of this Court, and mercy is the only consideration for which I plead.

               Thank you for taking the time to consider my letter.

Sincerely,

Captain Saud Hashmi
